61 F.3d 913
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff - Appellee,v.Cruz IBARRA-MADERO, Defendant - Appellant.
    No. 94-50598.
    United States Court of Appeals, Ninth Circuit.
    Submitted July 14, 1995.*Decided July 18, 1995.
    
      Appeal from the United States District Court for the Central District of California, No. CR-94-00565-SW; Stephen V. Wilson, District Judge, Presiding.
      C.D.Cal.
      REMANDED.
      Before:  LAY**, BRUNETTI, and RYMER, Circuit Judges.
      ORDER
      Cruz Ibarra-Madero argues that the district court erred in denying his motion to dismiss and for discovery on the basis of selective prosecution.  For the reasons set forth in United States v. Rendon-Abundez,     F.3d     , No. 94-50352 (9th Cir.  July 13, 1995), we remand to the district court for reconsideration of the motion in light of our opinion in United States v. Armstrong, 48 F.3d 1508 (9th Cir. 1995) (en banc), and in accord with the instructions in Rendon-Abundez.
      REMANDED.
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.  Fed. R. App.  P. 34(a); 9th Cir.  R. 34-4
      
      
        **
         Honorable Donald P. Lay, Senior Circuit Judge for the Eighth Circuit Court of Appeals, sitting by designation
      
    
    